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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO


UNITED STATES OF AMERICA,                 *
     Plaintiff,                           *
                                          *
      v.                                  *                    Criminal No. 11-345 (DRD)
                                          *
SHEILA SANCHEZ-SILVA [27],                *
                                          *
      Defendant.                          *
_________________________________________ *


                 ORDER APPROVING MAGISTRATE-JUDGE’S
          REPORT AND RECOMMENDATION RE: RULE 11 PROCEEDINGS


       The Court has evaluated the Magistrate-Judge’s Report and Recommendation of the Rule 11

proceedings regarding defendant SHEILA SANCHEZ-SILVA [27], contained in the Report and

Recommendation dated February 29, 2012, Docket No. 290.

       The principal consideration is whether that plea was knowingly, voluntary and intelligently

made within the terms of Rule 11, United States v. Isom, 85 F. 3d 831, 835-837 (1 Cir. 1996). In

order to ascertain whether defendant made a knowingly, voluntary and intelligent plea, the Court of

Appeals of the First Circuit has identified three core concerns: absence of coercion, defendant’s

understanding of the charges and the defendant’s knowledge of the consequences of the guilty plea.

United States v. Gray, 63 F. 3d 60-61, (1st Cir. 1995), United States v. Cotal Crespo, 47 F. 3d 1, 4

(1st Cir.) cert. denied 516 U.S. 827, 116 S. Ct. 94 (1995).

       The Court in examining the three core concerns must “review the totality of the

circumstances surrounding the Rule 11 hearing, rather than apply a ‘talismatic test’,” United States

v. Cotal Crespo, 47 F. 3d at 4-5.
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       The Court having examined the Report and Recommendation of the Magistrate Judge finds

that the plea was knowingly, voluntary and intelligent as understood in the terms of Rule 11. The

plea of defendant SHEILA SANCHEZ-SILVA [27], is therefore, accepted and the defendant is

adjudged guilty as to Count One (1) of the Indictment.

       IT IS SO ORDERED.

       At San Juan, Puerto Rico, this 24th day of May, 2012.



                                            S/ DANIEL R. DOMÍNGUEZ
                                            DANIEL R. DOMÍNGUEZ
                                            U.S. DISTRICT JUDGE
